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                           UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF MASSACHUSETTS
                                   BOSTON DIVISION


STUDENTS FOR FAIR ADMISSIONS, INC.,

                               Plaintiff,

       v.

PRESIDENT AND FELLOWS OF HARVARD                             Civil Action No. 1:14-cv-14176-ADB
COLLEGE (HARVARD CORPORATION),

                               Defendant.


     CONSENTED-TO MOTION TO SEAL CERTAIN INFORMATION FILED IN
       CONNECTION WITH SFFA’S PROPOSED FINDINGS OF FACT AND
                       CONCLUSIONS OF LAW

       Pursuant to Local Rule 7.2, Plaintiff Students for Fair Admissions, Inc. (“SFFA”) hereby

moves this Court for an order sealing limited portions of its proposed findings of fact and conclusions

of law. The materials that SFFA seeks to seal include information that was filed under seal at trial.

Harvard has consented to this motion.

       SFFA requests that the document subject to this Motion be impounded until further order of

the Court. In the event the Court has not previously ordered otherwise, the parties’ submissions

should be returned to their undersigned counsel upon resolution of this matter.

       WHEREFORE, SFFA respectfully requests that the Court grant this motion and allow

portions of its proposed findings of fact and conclusions of law to be filed under seal on or before

December 19 and to be viewed only by the Judge, her clerk(s), and Court personnel.
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                            Respectfully submitted,

                            /s/ William S. Consovoy

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Dated: December 18, 2018
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to all counsel of record via the CM/ECF system.



                                              /s/ William S. Consovoy
                                              William S. Consovoy
